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     David D. Lin (pro hac vice)
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     Tel: (718) 243-9323
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5
     Attorneys for Fornix Holdings LLC
6    and CP Productions, Inc.

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8
                           UNITED STATES DISTRICT COURT
                               DISTRICT OF ARIZONA
9

10     Fornix Holdings LLC; and CP                       Case No. 2:23-cv-00309-JJT
       Productions, Inc.,
11
                             Plaintiffs,
12
                      v.                                 Certificate of Service
13
       John Doe #1 d/b/a Justswallows.com;
14
       John Doe #2 d/b/a xgloryhole.com;
15     VeriSign, Inc.; Porkbun LLC; and
       Cloudflare, Inc.,
16
                             Defendants.
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18   I, DAVID D. Lin, declare:

19          1.     I am an attorney licensed to practice in the State of New York and will

20   simultaneously herewith, or promptly hereafter, apply for pro hac vice admission to the

21   District of Arizona on behalf of Plaintiffs CP Productions, Inc. (“CP Productions”) and

22   Fornix Holdings LLC (“Fornix”, together with “CP Productions” as “Plaintiffs”) for the

23   instant action. I am not a party to this action.

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1          2.     As provided in the Certificate of Service dated February 21, 2023 (ECF No.
2    10), on February 21, 2023, Plaintiffs filed (1) Verified Complaint and accompanying
3    exhibits (ECF No.1); (2) Notice of Plaintiffs’ Ex Parte Application for a Temporary
4    Restraining Order, Order to Show Cause for Preliminary Injunction, and Order to Allow
5    Alternative Service (ECF No. 2); (3) Declaration of David L. Graves in Support of
6    Plaintiffs’ Ex Parte Application for Temporary Restraining Order (ECF No. 3); (4)
7    Declaration of David D. Lin in Support of Plaintiffs’ Ex Parte Application for Temporary
8    Restraining Order, and accompanying exhibits (ECF No. 4); and (5) Memorandum of
9    Points and Authorities in Support of Plaintiffs’ Ex Parte Application for a Temporary
10   Restraining Order, Order To Show Cause for Preliminary Injunction, and Order to Allow
11   Alternative Service (ECF No. 5).
12         3.     On the same day, after obtaining ECF-stamped copies of the foregoing
13   documents, I (through an associate acting under my direction) immediately served them
14   upon Defendants VeriSign, Inc., Porkbun LLC, and Cloudflare, Inc., via email and mail.
15         4.     Specifically, on February 21, 2023, I served Verisign, Inc. at the email
16   addresses: legal@verisign.com, abuse@verisign.com. Copies of the foregoing documents
17   were subsequently mailed to Verisign, Inc. at 12061 Bluemont Way, Reston, VA 20190
18   via FedEx express mail (Tracking No. 771377800161). Such copies were delivered on
19   February 28, 2023.
20         5.     On the same day, I served Porkbun LLC at the email addresses:
21   abuse@porkbun.com, legal@porkbun.com. Copies of the foregoing documents were
22   subsequently mailed to Porkbun LLC at 21370 SW Langer Farms Parkway, Sherwood,
23   OR 97140 via FedEx express mail (Tracking No. 771377712520). Such copies were
24   delivered on February 27, 2023.

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1          6.     On the same day, I served Cloudflare, Inc. at the email addresses:
2    legal@cloudflare.com, abusedocuments@cloudflare.com. Copies of the foregoing
3    documents were subsequently mailed to Cloudflare, Inc. at 101 Townsend Street, San
4    Francisco, CA 94107 via FedEx express mail (Tracking No. 771377564738). Such copies
5    were delivered on February 27, 2023.
6          7.     Pursuant to the Court’s Order dated March 1, 2023 (ECF No. 12), I (through
7    an associate acting under my direction) served a copy of the Order upon Defendants
8    VeriSign, Inc., Porkbun LLC, and Cloudflare, Inc., via email and mail.
9          8.     Specifically, on March 1, 2023, I served Verisign, Inc. the said Order at the
10   email addresses: legal@verisign.com, abuse@verisign.com. A copy of the Order was
11   subsequently mailed to Verisign, Inc. at 12061 Bluemont Way, Reston, VA 20190 via
12   FedEx overnight mail (Tracking No. 771446791719). Such copies were delivered on
13   March 2, 2023.
14         9.     On the same day, I served Porkbun LLC the said Order at the email
15   addresses: abuse@porkbun.com, legal@porkbun.com. A copy of the Order was
16   subsequently mailed to Porkbun LLC at 21370 SW Langer Farms Parkway, Sherwood,
17   OR 97140 via FedEx overnight mail (Tracking No. 771446828812). Such copy was
18   delivered on March 2, 2023.
19         10.    On the same day, I served Cloudflare, Inc. the said Order at the email
20   addresses: legal@cloudflare.com, abusedocuments@cloudflare.com. A copy of the Order
21   was subsequently mailed to Cloudflare, Inc. at 101 Townsend Street, San Francisco, CA
22   94107 via FedEx overnight mail (Tracking No. 771446855036). Such copy was delivered
23   on March 2, 2023.
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1    I declare under penalty of perjury that the foregoing is true and correct.
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            Executed on: March 3, 2023
3
            Brooklyn, New York
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5
                                                By: ____________________________
6                                               David D. Lin, Esq.
                                                (pro hac vice)
7
                                                Attorneys for Fornix Holdings LLC
8
                                                and CP Productions, Inc.
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